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 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for TERRY NELSON
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR S-06-0461 FCD
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION AND ORDER
10                                       )                 CONTINUING THE STATUS
           v.                            )                 CONFERENCE FROM
11                                       )                 MAY 29, 2007 TO
     TERRY NELSON,                       )                 JULY 23, 2007 AT 10:00 A.M.
12   VIRGINIA ROMERO                     )
                       Defendants.       )                 “AS MODIFIED”
13   ____________________________________)
14          The defendants, Virginia Romero and Terry Nelson, and the United States, by and through
15   their respective attorneys, hereby stipulate that the status conference currently set for May 29, 2007
16   should be continued to July 23, 2007 at 10:00 a.m. The reason for the continuance is that the
17   defendants need additional time to review the discovery in this case, Mr. Locke is in trial in San
18   Francisco from May 25, 2007 until June 15, 2007, and the defense needs additional time to
19   determine what additional investigation, if any, is needed in order to prepare this case properly.
20          The parties also stipulate and agree that all Rule 12 ( c) motions must be filed by
21   June 30, 2007. The parties also agree that a trial date will be set at the status conference on
22   July 23, 2007.
23          The defense also requests that the Court exclude the time from the date that this Order is
24   signed to July 23, 2007 from the Speedy Trial Act calculation pursuant to Local Code T4 for defense
25   preparation. The government agrees that the time should be excluded. Candace Fry, the attorney
26   for Virginia Romero, and Matthew Segal, the attorney for the United States, have authorized Bruce
27   Locke to sign this Stipulation and Order for them.
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 1   DATED:May 24, 2007                        /S/ Bruce Locke
                                        L. BRUCE LOCKE
 2                                      Attorney for TERRY NELSON
 3
 4
 5
 6   DATED: May 24, 2007                     /S/ Candace Fry by Bruce Locke
                                        CANDACE FRY
 7                                      Attorney for VIRGINIA ROMERO
 8
 9   DATED: May 24, 2007                   /S/ Matthew Segal by Bruce Locke
                                        MATTHEW SEGAL
10                                      Attorney for the UNITED STATES
11
12         IT IS SO ORDERED.
13   DATED: May 25, 2007.
14
                                      _______________________________________
15                                    FRANK C. DAMRELL, JR.
16                                    UNITED STATES DISTRICT JUDGE

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